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                                RULE 7.1.1 CERTIFICATION

        Pursuant to D. Del. L.R. 7.1.1, the undersigned counsel hereby certifies that counsel for

Defendants conferred with counsel for Plaintiff, including verbally by teleconference involving

Delaware counsel, regarding the relief sought in the foregoing motion and that the parties were

unable to reach agreement on the relief sought therein.



Dated: June 18, 2020                             /s/ Daniel M. Silver
                                                 Daniel M. Silver (#4758)




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